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United States District Court

S()UTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA

V CRIMINAL C()MPLAINT

LARRY AYRES CASE NUMBER: l:l7-mj- 0/ 0 S_@

l, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about November 17,2017, in Marion County, in the Southern District of Indiana,
defendant did commit,

Count l: Possession of a firearm by a convicted felon, in violation of Title. l 8 U.S.C. § 922(g)(1).
l further state that l am a special agent, and that this complaint is based on the following facts:

See attached Affidavit

Continued on the attached sheet and made a part hereof.

    

S cial Agent, Steven T. Secor, FBI

Sworn to before me, and subscribed in my presence

November 17, 2017 at Indianapolis, Indiana
Date

 

Debra McVicker Lynch, U.S. Magistrate Judge ¢MYL /72,1,_/

Name and Title of Judicial omcer signature or Judiciai ofhc/e{

 

 

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AFFIDAVIT

I, STEVEN T. SECOR ("Your Affiant"), being duly sworn to law, depose and state as

follows:

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l am and have been employed as a Special Agent with the Federal Bureau of
lnvestigation ("FBI") since September 2003. Prior to that time, I spent seventeen
(l7) weeks training to be a Special Agent at the FBI Academy in Quantico,
Virginia beginning on June l, 2003. Through the FBI, l have received extensive
training related to the investigation of federal crime to include violent crime. l
am currently assigned to the FBI Violent Crimes Task Force ("VCTF") in the
lndianapolis Field Office of the FBl. ln this assignment, l investigate all manner
of violent crime to include firearm related offenses.

Your Affiant has participated in the investigation of the offenses described within
this affidavit. The statements contained in this affidavit are based in part on
information provided by, and conversations held with, Special Agents of the FBI;
Task Force Officers ("TFOs") assigned to the lndianapolis VCTF and Safe Streets
Gang Task Force (“SSGTF”); detectives and patrol officers of the Indianapolis
Metropolitan Police Department ("IMPD"); Indiana State Police (“ISP”);
witnesses; and on your Affiant's experience and background as a Special Agent of
the FBI.

Your Affiant has not included each and every fact that has been revealed through
the course of this investigation Your Affiant has set forth only the facts that are
believed to be necessary to establish the required foundation for the issuance of

the requested Warrant for Arrest.

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BACKGROUND OF THE INVESTIGATION

4. Your Affiant is currently involved in an investigation of a subject identified as
LARRY DOUGLAS AYERS [“AYERS”], black male, date of birth **/**/1981,
Social Security Account Number * * *-* *-3040. AYERS’ criminal history includes
five (5) felony convictions in the state of lndiana. The first conviction was for
Resisting Law Enforcement (D Felony) in 2002. The second was for Dealing
Cocaine in 2002. The third was for Dealing in Narcotic Drugs in 2007, the
fourth was for Resisting Law Enforcement in 2014. Possession of
Methamphetamine in 2014. These convictions were confirmed through an FBI
NCIC check conducted on July 23, 2017.

5. On or about November l7, 2017, a series of search and arrest warrants were
executed at multiple locations as part of a multi-agency sweep which was the
culmination of a months-long, FBI-led investigation into narcotic and firearms
offenses in the Indianapolis area. One of the federal search warrants executed as
part of this sweep was at 6305 Blakeview Court, lndianapolis, lndiana. Upon
entry into the residence by an Indiana State Police SWAT team, three individuals
were located and detained by law enforcement One of the individuals was
AYERS. The other two were AYERS’ girlfriend and his eleven year old
daughter.

6. When the ISP SWAT team made entry, the eleven year old daughter was
temporarily removed from the inside of the residence AYERS then came out of
the bedroom followed by his girlfriend When questioned for officer safety

reasons if there were any guns present at the house, the girlfriend stated that she

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kept a gun that was hers on her side of the bed on the nightstand. The eleven
year old stated words to the effect of “My daddy has a gun, but he doesn’t do bad
things with it.” When initially clearing the bedroom, the ISP SWAT team did
not locate a gun on the nightstand as the girlfriend stated.

7. A dedicated search team then began the search warrant execution. The FBI team
leader for the search was informed there should be a gun on the nightstand per the
information provided by the girlfriend The team leader did not see a gun as
specific by the girlfriend The girlfriend was then brought into the bedroom by
the team leader and asked to identify the location of the gun. Upon failing to see
a gun on the nightstand, the girlfriend stated words to the effect that “When l go
to bed, l put it on the nightstand. l put it there last night.” The girlfriend also
added that when law enforcement made entry into the residence, AYERS’ was the
first to get up. The girlfriend was then removed from the bedroom while the
FBI-led search team began a more detailed search of the residence.

8. Located between the mattress and the box spring of the bed believed to be
AYERS’ and the girlfriend’s was a Smith & Wesson, semi-automatic .40 caliber
pistol. The pistol was loaded with one round in the chamber. The serial number
on the pistol was obliterated.

9. The search team noted items next to each side of the bed which indicated which
side of the bed AYERS and girlfriend slept on. On the side of the bed where the
pistol was found appeared to be AYERS’ side of the bed, Items noted here were
a pair of men’s jeans on the floor. AYERS later asked for this pair of jeans

before he was transported from the location. In the jeans was a wallet with

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identification in the name of AYERS. Also on this side of the bed on the
nightstand was a Social Security card in the name of AYERS.

On the opposite side of the bed from where the gun was found were items which
appeared to belong to the girlfriend These items included female
undergarments, clothes, and sex toys usually employed for female pleasure. The
girlfriend later asked FBI agents to retrieve some of these clothes so that she
could get dressed These were the clothes retrieved from the opposite side of the
bed the girlfriend originally identified as where she kept her gun on her
nightstand.

In your AFFIANT’s training and experience, it is not uncommon for the
girlfriends or spouses of convicted felons to claim ownership of guns when these
guns are in fact possessed by the felon. lt is commonly the belief of the felons
that they can avoid additional charges by having their significant others claim

ownership.

CONCLUSION

Based on the information detailed above, your Affiant believes AYERS is in violation of:

¢ Title 18 United States Code, Section 922(g) in that he knowingly possessed a firearm

having been previously convicted for crimes punishable by imprisonment for a term

exceeding one year.

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0 Title 18 United States Code, Section 922(k) in that the firearm had an obliterated serial

number.

FURTHER YOUR AFFIANT SAITH NOT

Ste'gen T. Secor

Special Agent
Federal Bureau of Investigation

/`_
Subscribed and sworn before me the / 7 day of November, 2017 `

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Debra McVickefiynch 4
United States Magistrate Judge
Southern District of Indiana

